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                                                                 October 15, 2020
By ECF
Hon. Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007
                                                                      October 16, 2020
        Re:      United States v. Mousa Shahin
                 20 Cr. 541 (PGG)

Dear Judge Gardephe:

         I represent Mousa Shahin in the above-referenced matter. Yesterday, Mr. Shahin made
his initial appearance before Magistrate Judge Sarah L. Cave and pleaded guilty to Counts One,
Two and Three of the instant information. He was released pursuant to a $150,000 personal
recognizance bond to be co-signed by one financially responsible person, and as part of his bail
conditions, his travel is restricted to the Southern and Eastern District of New York.

        This letter is respectfully submitted without objection from pretrial services or the
government to request a temporary modification of Mr. Shahin’s travel restrictions to permit
travel to the District of New Jersey for the purpose of playing in the final two games of his
soccer season, which will take place over the next two Sundays in Patterson, New Jersey. As
requested by PTSO Francesa Piperato, Mr. Shahin will provide his pretrial services officer with
his game schedule and the precise field location.

        If the Court has any questions regarding this application, please contact my office.

                                                                 Respectfully submitted,
                                                                        /s/
                                                                 David Stern

cc:     AUSA George Turner (by ECF and Email)
        USPTO Francesca Piperato (by Email)
